Case 3:19-cv-00764-X Document 114 Filed 06/01/19   Page 1 of 30 PageID 3222


                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

VEROBLUE FARMS USA, INC.,              §
   Plaintiff,                          §
                                       §
 v.                                    §   CIVIL ACTION NO. 3:19-CV-00764-L
                                       §
LESLIE A. WULF, BRUCE A. HALL, JAMES   §
REA, JOHN REA, and KEITH DRIVER,       §
   Defendants/Counter-Plaintiffs,      §

    THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS
THIRD-PARTY CLAIMS PURSUANT TO THE TEXAS CITIZENS PARTICIPATION
                    ACT AND BRIEF IN SUPPORT
     Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                             Page 2 of 30 PageID 3223


                                                  TABLE OF CONTENTS

I.       Factual and Procedural Background ....................................................................................1

II.      Summary of the Argument...................................................................................................1

III.     Relevant Legal Standard ......................................................................................................4

IV.      Arguments and Authorities ..................................................................................................5

         A.         The TCPA applies in federal court diversity cases. ................................................ 5

                    1.         The TCPA provides substantive rights under Texas law. ........................... 6

                    2.         The TCPA does not conflict with Federal Rules of Civil Procedure
                               12(b)(6) and 56. .......................................................................................... 8

                    3.         The TCPA furthers the “twin aims” of Erie. .............................................. 9

         B.         The Third-Party Claims should be dismissed under the TCPA. ........................... 11

                               The TCPA applies to the Third-Party Claims because they are
                               based on McCowan’s exercise of his right of free speech and right
                               to petition. ................................................................................................. 11

                               The Third-Party Plaintiffs cannot establish, by clear and specific
                               evidence, a prima facie case on each essential element of their
                               tortious-interference claims. ..................................................................... 13

                               a.         As an officer of VBF, McCowan cannot tortiously interfere
                                          with the Termination Agreements to which VBF was a party.
                                          ........................................................................................................13
                               b.         VBF was exercising its rights under the Termination
                                          Agreements. ...................................................................................16
                               c.         There are no allegations or evidence that McCowan actively
                                          persuaded VBF to breach the Termination Agreements. ....... Error!
                                          Bookmark not defined.
                               d.         Ted Rea and Hall fail to meet their burden to prove damages,
                                          an essential element of a tortious-interference claim. ....................19
                               e.         The Third-Party Claims should be dismissed because
                                          McCowan can conclusively establish valid defenses. ...................20

         C.         The Court should award McCowan his costs and attorneys’ fees. ....................... 22

V.       Conclusion .........................................................................................................................22



                                                                      ii
  Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                         Page 3 of 30 PageID 3224



                                              TABLE OF AUTHORITIES


                                                                                                                              Page

Cases

Abraham v. Ryland Mortg. Co.,
  995 S.W.2d (Tex. App.—El Paso 1999, no pet.) ..................................................................... 22

ACS Investors, Inc. v. McLaughlin,
  943 S.W.2d 426 (Tex. 1997)............................................................................................... 15, 17

Adams v. Starside Custom Builders, LLC,
  547 S.W.3d 890 (Tex. 2018)............................................................................................... 12, 13

All Plaintiffs v. All Defendants,
  645 F.3d 329 (5th Cir. 2011) ...................................................................................................... 6

Allen v. Heath,
  No. 6:16-CV-51-MHS-JDL, 2016 WL 7971294 (E.D. Tex. May 6, 2016) ............................... 8

Alma Grp., L.L.C. v. Palmer,
  143 S.W.3d 840 (Tex. App.—Corpus Christi 2004, pet. denied) ............................................. 20

Amigo Broad., LP v. Spanish Broad. Sys., Inc.,
  521 F.3d 472 (5th Cir. 2008) .................................................................................................... 19

Baty v. ProTech Ins. Agency,
  63 S.W.3d 841 (Tex. App.—Houston [14th Dist.] 2001, pet. denied ...................................... 21

Bedford v. Spassoff,
  520 S.W.3d 901 (Tex. 2017)....................................................................................................... 4

Benningfield v. City of Houston,
  157 F.3d 369 (5th Cir. 1998) .................................................................................................... 15

Better Bus. Bureau of Metro. Dallas v. BH DFW, INC.,
  402 S.W.3d 299 (Tex. App.—Dallas 2013, pet. denied) ............................................................ 5

Block v. Tanenhaus,
  867 F.3d 585 (5th Cir. 2017) ...................................................................................................... 6

Cates v. Sears, Roebuck & Co.,
  928 F.2d 679 (5th Cir. 1991) .................................................................................................... 10




                                                                  iii
  Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                            Page 4 of 30 PageID 3225


Celanese Corp. v. OneBeacon Am. Ins. Co., 3:15-CV-03822-N,
  2016 WL 6496354 (N.D. Tex. May 20, 2016) ......................................................................... 15

Cent. Sav. & Loan Ass’n v. Stemmons Nw. Bank, N.A.,
  848 S.W.2d 232 (Tex. App.—Dallas 1992, no writ) ................................................................ 15

Charalambopoulos v. Grammer,
  No. 3:14-CV-2424-D, 2015 WL 390664 (N.D. Tex. Jan. 29, 2015) .......................................... 6

Coker v. Select Energy Servs., LLC,
  161 F. Supp. 3d 492 (S.D. Tex. 2015) ...................................................................................... 11

Community Health Sys. Prof’l Servs. v. Hansen,
  525 S.W.3d 671 (Tex. 2017)................................................................................... 14, 15, 16, 22

Cuba v. Pylant,
  814 F.3d 701 (5th Cir. 2016) .................................................................................................. 6, 9

Culbertson v. Lykos,
  790 F.3d 608 (5th Cir. 2015) ...................................................................................................... 6

Cypress Engine Accessories, LLC v. HDMS Ltd. Co.,
  283 F. Supp. 3d 580 (S.D. Tex. 2017) ...................................................................................... 17

Davis v. Hyd-Pro, Inc.,
  839 S.W.2d 137 (Tex. App.—Eastland 1992, writ denied) ...................................................... 20

Desch v. Wheatley,
  SA-08-CA-0922-FB, 2010 WL 11506404 (W.D. Tex. Jan. 19, 2010) .................................... 22

Diamond Consortium, Inc. v. Hammervold,
  733 Fed. App’x 151 (5th Cir. 2018) ........................................................................................... 6

Eloise Bauer & Assocs., Inc. v. Elec. Realty Assocs., Inc.,
  621 S.W.2d 200 (Tex. Civ. App.—Texarkana 1981, writ ref’d n.r.e. ...................................... 22

Fitness Evolution, L.P. v. Headhunter Fitness, L.L.C.,
  No. 05-13-00506-CV, 2015 WL 6750047 (Tex. App.—Dallas Nov. 4, 2015, no pet.) ........... 19

Friendswood Dev. Co. v. McDade & Co.,
  925 S.W.2d 280 (Tex. 1996)..................................................................................................... 22

Gasperini v. Ctr. for Humanities, Inc.,
  518 U.S. 415 (1996) .................................................................................................................... 5

Godin v. Schencks,
  629 F.3d 79 (1st Cir. 2010) ......................................................................................................... 9



                                                                    iv
  Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                         Page 5 of 30 PageID 3226


Hall v. GE Plastic Pac. PTE Ltd.,
  327 F.3d 391 (5th Cir. 2003) .................................................................................................... 10

Hambric Sports Mgmt., LLC v. Team AK, Inc., 3:09-CV-1662-L,
  2010 WL 2605243 (N.D. Tex. June 29, 2010) ......................................................................... 19

Hammond v. Lovings,
  No. 5:15-CV-00579-RP, 2016 WL 9049579 (W.D. Tex. May 25, 2016) .................................. 6

Haynes v. Crenshaw,
  166 F. Supp. 3d 773 (E.D. Tex. 2016) ........................................................................................ 6

Henry v. Lake Charles Am. Press, LLC,
  566 F.3d 164, 168-69 (5th Cir. 2009) ......................................................................................... 9

Holloway v. Skinner,
  898 S.W.2d 793 (Tex. 1995)............................................................................................... 14, 15

Immobiliere Jeuness Establissement v. Amegy Bank,
  525 S.W.3d 875 (Tex. App.—Houston [14th Dist.] 2017, no pet.) .......................................... 19

In re Lipsky,
   460 S.W.3d 579 (Tex. 2015)................................................................................................... 4, 7

Jacked Up, L.L.C. v. Sara Lee Corp.,
  854 F.3d 797 (5th Cir. 2017) .............................................................................................. 14, 21

John Paul Mitchell Sys. v. Randalls Food Markets, Inc.,
  17 S.W.3d 721, 730-31 (Tex. App.—Austin 2000, pet. denied) .............................................. 17

Lincoln Gen. Ins. Co. v. Autobuses Tierra Caliente, Inc., CIV. A. 3:04CV1535–L,
  2006 WL 2474096 (N.D. Tex. Aug. 28, 2006) ......................................................................... 11

Mumfrey v. CVS Pharmacy, Inc.,
 719 F.3d 392 (5th Cir. 2013) .............................................................................................. 16, 17

Nat’l Prop. Holdings, L.P. v. Westergren,
  453 S.W.3d 419 (Tex. 2015)..................................................................................................... 18

NCDR, L.L.C. v. Mauze & Bagby, P.L.L.C.,
  745 F.3d 742 (5th Cir. 2014) ...................................................................................................... 6

O’Gara v. Binkley,
  No. 3:18-CV-2603-B, 2019 WL 1864099 (N.D. Tex. Apr. 24, 2019) ....................................... 7

Powell Indus. v. Allen,
  985 S.W.2d 455 (Tex. 1998)............................................................................................... 16, 17



                                                                  v
  Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                              Page 6 of 30 PageID 3227


Prudential Ins. Co. of Am. v. Fin. Review Servs., Inc.,
  29 S.W.3d 74 (Tex. 2000)................................................................................................... 14, 21

Rudkin v. Roger Beasley Imports, Inc.,
  2017 WL 6622561 (W.D. Tex. Dec. 28, 2017), report and rec. accepted, 2018 WL 2122896
  (W.D. Tex. Jan. 31, 2018)........................................................................................................... 7

Star Sys. Int’l Ltd. v. Neology, Inc.,
  No. 4:18-cv-00574, 2019 WL 215933 (E.D. Tex. Jan. 16, 2019) .............................................. 7

Sullivan v. State Farm Lloyds, 3:05-CV-2000-L,
  2007 WL 1626077 (N.D. Tex. June 6, 2007) ........................................................................... 21

Sw. Airlines Co. v. Roundpipe, LLC,
  No. 3:18-CV-0033-G, 2019 WL 1315896 (N.D. Tex. Mar. 22, 2019) ...................................... 7

Victoria Bank & Trust Co. v. Brady,
  811 S.W.2d 931 (Tex. 1991)..................................................................................................... 22

William Noble Rare Jewels, L.P. v. Sky Glob. L.L.C.,
  No. 3:18-CV-01566-N, 2019 WL 935954 (N.D. Tex. Feb. 25, 2019) ....................................... 7

Williams v. Cordillera Commc’ns, Inc.,
  No. 2:13-CV-124, 2014 WL 2611746 (S.D. Tex. June 11, 2014).............................................. 7

Statutes

TEX. CIV. PRAC. & REM. CODE § 38.001 ........................................................................................ 3

TEX. CIV. PRAC. & REM. CODE §§ 27.001 ............................................................................ 1, 4, 20

TEX. CIV. PRAC. & REM. CODE § 27.001(3) .................................................................................. 10

TEX. CIV. PRAC. & REM. CODE § 27.001(7)(B) ............................................................................ 10

TEX. CIV. PRAC. & REM. CODE § 27.002 ........................................................................................ 7

TEX. CIV. PRAC. & REM. CODE § 27.005(b) .................................................................................... 4

TEX. CIV. PRAC. & REM. CODE § 27.005(c) .............................................................................. 5, 11

TEX. CIV. PRAC. & REM. CODE § 27.009(a) .............................................................................. 5, 19

Other Authorities

Local Civil Rule 5 ......................................................................................................................... 22

RESTATEMENT (SECOND) OF TORTS §§ 766, 767 .......................................................................... 19


                                                                      vi
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                 Page 7 of 30 PageID 3228


       Pursuant to the Texas Citizens Participation Act, Third-Party Defendant Norman

McCowan (“McCowan”) files this Motion to Dismiss the Third-Party Claims and Brief in Support

to dismiss the Third-Party Claims brought by Defendants Leslie A. Wulf (“Wulf”), Bruce A. Hall

(“Hall”), James Rea (“James Rea”), and John (Ted) Rea (“Ted Rea”) (collectively, the “Third-

Party Plaintiffs” and the “Third-Party Claims”) (Dkt. 66) under the Texas Citizens Participation

Act. See TEX. CIV. PRAC. & REM. CODE §§ 27.001 et seq.

                            I.       SUMMARY OF THE ARGUMENT

       The Court should dismiss the Third-Party Claims pursuant to the Texas Citizens

Participation Act (“TCPA”) because the allegations and claims are based on, related to, or in

response to McCowan’s exercise of his rights of free speech and to petition regarding a matter of

public concern. The Third-Party Claims are based on allegations regarding McCowan’s opinions

and actions as an officer of VBF in terminating VBF’s business relationships with the Third-Party

Plaintiffs and initiating suit against the Third-Party Plaintiffs for malfeasance. The Third-Party

Plaintiffs have not alleged any facts sufficient to state a claim for tortious interference with a

contract, much less bring forth clear and specific evidence to support each essential element of

their prima facie case, which would be required under the TCPA. Nor have they alleged sufficient

facts to rebut McCowan’s valid legal defenses to their claims. Therefore, the Court should dismiss

the Third-Party Claims in their entirety and award McCowan his attorneys’ fees and costs pursuant

to the TCPA.

                    II.          FACTUAL AND PROCEDURAL BACKGROUND

       In 2014, the Third-Party Plaintiffs founded Plaintiff VeroBlue Farms USA, Inc. (“VBF”),

a sustainable fish farm. The Third-Party Plaintiffs served as directors, officers, and employees of

VBF from its founding in 2014 through the termination of their employment and removal as



THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 1
  Case 3:19-cv-00764-X Document 114 Filed 06/01/19                             Page 8 of 30 PageID 3229


officers and directors in late 2017 and early 2018. Specifically, (1) VBF terminated it business

relationship with Hall and Ted Rea on October 27, 2017, and each signed a Business Relationship

Termination Agreements (Dkt. 66-1, Exs. C & D); (2) VBF terminated its business relationship

with Wulf on December 1, 2017, and he signed a Separation Agreement (Dkt. 66-1, Ex. B); and

(3) VBF terminated its business relationship with James Rea on January 8, 2018 for “Egregious

Cause” pursuant to his Employment Agreement (Dkt. 66 at Exhibit A). (These agreements signed

by the Third-Party Plaintiffs are collectively referred to as the “Termination Agreements.”) On

November 6, 2017, McCowan became the president of VBF, and he currently remains in that role.

(See Dkt. 66, Third-Party Claims at ¶ 7). 1

         Following the removal and discharge of the last of the Third-Party Plaintiffs in January

2018, VBF discovered that the Third-Party Plaintiffs misappropriated and misused millions of

dollars in corporate assets and knowingly misrepresented VBF’s operations, technology, and

finances. (See Compl. ¶¶ 13-42). In July 2018, VBF filed the instant lawsuit against the Third-

Party Plaintiffs, asserting claims for breach of fiduciary duty, fraudulent concealment, fraudulent

misrepresentation, constructive fraud, civil conspiracy, aiding and abetting, unjust enrichment,

equitable accounting, and declaratory judgment. 2

         As a result of the misdeeds of the Third-Party Plaintiffs, VBF also filed for bankruptcy

under Chapter 11 (the “VBF Bankruptcy”). See In re VeroBlue Farms USA, Inc. et al., No. 18-

01297 (Bankr. N.D. Iowa, filed Sept. 21, 2018) (“VBF Bankr.”). The U.S. Bankruptcy Court for

the Northern District of Iowa (the “Bankruptcy Court”) confirmed the Amended Joint Chapter


         1
             The Third-Party Claims erroneously state that McCowan is the chief executive officer of VBF.
         2
           VBF has a pending Motion for Leave to Amend its Amended Complaint [Dkt. 102], seeking to add
additional claims against the Third-Party Plaintiffs for fraudulent transfer, restitution, violations of the Racketeer
Influenced and Corrupt Organizations Act, and rescission of the Termination Agreements that are the basis of the
allegations in the Third-Party Claims.


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 2
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                Page 9 of 30 PageID 3230


11 Plan of Reorganization of VeroBlue Farms USA, Inc. and Its Affiliated Debtors (the “VBF

Reorganization Plan”) and entered a final judgment on May 7, 2019, which became final on May

22, 2019. (Id. at Dkt. 515, 516). 3 The Bankruptcy Court also allowed McCowan to continue in

his role as President of VBF during the bankruptcy and in the confirmation order. (E.g., id. at Dkt.

96 (Chapter 11 Monthly Operating Report) 4; Ex. 2 at 10). The Third-Party Plaintiffs were parties-

in-interest to the VBF Bankruptcy, received notice of the proceedings, including those related to

the confirmation, and participated in the proceedings. (E.g., id. at Dkt. 411 (Notice of Attorney

Appearance for the Third-Party Plaintiffs) 5; see also id. Dkt. 446, 466 (Objections to Confirmation

of Plan by the Third-Party Plaintiffs)).

        On April 10, 2019, the Third-Party Plaintiffs brought claims for tortious interference

against third parties McCowan, Eva Ebstein, Jens Haarkoetter, Bjorn Thelander, Anders Wester,

Dr. Otto Happel, and Alder Aqua, Ltd. (collectively, the “Third-Party Defendants”). The Third-

Party Defendants are current and former directors, officers, or shareholders of VBF. (Dkt. 66,

Third-Party Claims ¶¶ 3-9).              The Third-Party Plaintiffs assert the Third-Party Defendants

tortiously interfered with the Termination Agreements by allegedly inducing VBF to (1) file suit

against Hall and Ted Rea, in violation of the releases in the Termination Agreements (Dkt. 66,

Third-Party Claims ¶¶ 58, 66); (2) refuse to pay Wulf severance payments allegedly due to him

under the Separation Agreement (Id. ¶ 77); and (3) terminate James Rea based on an allegedly

false claim of “Egregious Cause,” and refuse to pay him amounts allegedly due under the



        3
           A true and correct copy of the Bankruptcy Court’s judgment (“Judgment”) is attached hereto as Exhibit 1.
A true and correct copy of the Bankruptcy Court’s confirmation order (“Order”), which includes a copy of the VBF
Reorganization Plan, is attached hereto as Exhibit 2. There were Minor Modifications to the VBF Reorganization
Plan [Dkt. 511] incorporated into the Order and attached hereto as Exhibit 3.
        4
            A true and correct copy of the Chapter 11 Monthly Operating Report is attached hereto as Exhibit 4.
        5
            A true and correct copy of the Notice of Appearance and Request for Service is attached hereto as Exhibit 5.


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 3
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                              Page 10 of 30 PageID 3231


Employment Agreement. (Id. ¶ 87). Ted Rea and Hall each claim damages “in an amount of

expense he has incurred in defending against claims brought against him by VBF in violation of

the release,” and seek punitive damages and attorneys’ fees (pursuant to Section 7(i) of their

Termination Agreements). (Id. ¶¶ 61-63, 70-72). Wulf seeks damages, punitive damages, and

attorneys’ fees (pursuant to Section 7(i) of the Separation Agreement). (Id. ¶¶ 81-83). James Rea

seeks damages, punitive damages, and attorneys’ fees (pursuant to Section 38.001 of the Texas

Civil Practice and Remedies Code). (Id. ¶¶ 90-92). On May 31, 2019, McCowan filed a Rule

12(b)(6) Motion to Dismiss Third-Party Claims [Dkt. 113].

                               III.          RELEVANT LEGAL STANDARD

         The TCPA is the Texas anti-SLAPP law that protects defendants from retaliatory claims

that arise out of the exercise of a defendant’s First Amendment rights. TEX. CIV. PRAC. & REM.

CODE Ch. 27; see also In re Lipsky, 460 S.W.3d 579, 584 (Tex. 2015) (The TCPA “protects citizens

who petition or speak on matters of public concern from retaliatory lawsuits that seek to intimidate

or silence them.”) (citing TEX. CIV. PRAC. & REM. CODE §§ 27.001 et seq.)). To effect this

protection, the TCPA provides for “a special motion for an expedited consideration of any suit that

appears to stifle the defendant’s communication on a matter of public concern.” Id.

         For the TCPA to apply, a defendant must show that the plaintiff’s claims are based on,

relate to, or are in response to the defendant’s exercise of: (1) the right of free speech, (2) the right

to petition, or (3) the right of association. TEX. CIV. PRAC. & REM. CODE § 27.005(b). 6 If the

plaintiff’s claim implicates the right of free speech, the right to petition, or the right of association,

the TCPA applies, and the burden shifts to the plaintiff to establish by “clear and specific evidence”



         6
          When determining if the TCPA applies, the trial court must consider all pleadings, as well as supporting
and opposing affidavits stating the facts on which a claim of liability is based. Id. § 27.006; Bedford v. Spassoff, 520
S.W.3d 901, 904 (Tex. 2017) (citing In re Lipsky, 460 S.W.3d 579, 590 (Tex. 2015)).


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 4
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                  Page 11 of 30 PageID 3232


a prima facie case for each essential element of the claim in question. TEX. CIV. PRAC. & REM.

CODE § 27.005(c). If the plaintiff cannot meet that burden, the claim is dismissed. And even if

the plaintiff does meet that burden, the defendant can still secure dismissal of the plaintiff’s claim

by establishing “each essential element of a valid defense to the nonmovant’s claim.” Id.

§ 27.005(d); Better Bus. Bureau of Metro. Dallas v. BH DFW, INC., 402 S.W.3d 299, 305 (Tex.

App.—Dallas 2013, pet. denied).

       If a defendant is successful in dismissing any of the plaintiff’s claims, in whole or in part,

the trial court must award the defendant his (a) court costs and attorneys’ fees, (b) any other

expenses incurred in defending against the lawsuit, and (c) such sanctions as may be needed to

deter similar actions in the future. See TEX. CIV. PRAC. & REM. CODE § 27.009(a).

                          IV.        ARGUMENTS AND AUTHORITIES

A.     The TCPA applies in federal court diversity cases.

       A federal court sitting in diversity applies state substantive law and federal procedural

rules. See Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 427 (1996). Under Erie and its

progeny, courts perform a three-step analysis to determine whether a state’s substantive law

applies in federal court. All Plaintiffs v. All Defendants, 645 F.3d 329, 333-36 (5th Cir. 2011).

First, the court determines whether the law is procedural or substantive in nature. Id. Second, if

the law is deemed substantive, the court must then determine whether the law conflicts with federal

procedural rules. Id. Third, if the law does not conflict with federal procedural rules, the court

evaluates whether the law serves to discourage forum shopping and avoid inequitable

administration of the laws. Id. The TCPA satisfies all three Erie factors and applies in this case.

       Applying the TCPA in this case is consistent with Fifth Circuit precedent, which has

repeatedly “assumed” without the deciding that the TCPA applies in federal diversity actions under

Erie. Diamond Consortium, Inc. v. Hammervold, 733 Fed. App’x 151, 154 (5th Cir. 2018), reh’g

THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 5
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                Page 12 of 30 PageID 3233


denied (Jun. 4, 2018) (assuming without deciding that the TCPA applies in federal court); Cuba v.

Pylant, 814 F.3d 701, 706 (5th Cir. 2016) (“To decide whether the appeals are timely, we first

review the TCPA framework, which we assume—without deciding—controls as state substantive

law in these diversity suits.”). 7

         Applying the TCPA is also consistent with the holding of some federal district courts in

Texas, including the Northern District of Texas. See, e.g., Hammond v. Lovings, No. 5:15-CV-

00579-RP, 2016 WL 9049579, at *2-3 (W.D. Tex. May 25, 2016); Haynes v. Crenshaw, 166 F.

Supp. 3d 773, 776 (E.D. Tex. 2016); Charalambopoulos v. Grammer, No. 3:14-CV-2424-D, 2015

WL 390664, at *1 (N.D. Tex. Jan. 29, 2015); Williams v. Cordillera Commc’ns, Inc., No. 2:13-

CV-124, 2014 WL 2611746, at *1 (S.D. Tex. June 11, 2014). 8

         1.       The TCPA provides substantive rights under Texas law.

         As noted above, under the first step of the three-step Erie analysis, the court evaluates

whether the state law is substantive or procedural in nature. The TCPA confers significant

substantive protections under Texas law. The express purpose of the TCPA is “to encourage and

safeguard constitutional rights of citizens to petition, speak freely, associate freely, and, at the

same time, protect the rights of a person to file meritorious lawsuits for demonstrable injury.” TEX.

CIV. PRAC. & REM. CODE § 27.002; see In re Lipsky, 460 S.W.3d 579, 586 (Tex. 2015) (providing


         7
            See also Block v. Tanenhaus, 867 F.3d 585, 589 (5th Cir. 2017) (“The applicability of state anti-SLAPP
statutes, such as the TCPA, in federal court is an important and unresolved issue in this circuit.”); Culbertson v. Lykos,
790 F.3d 608, 631 (5th Cir. 2015) (citing NCDR, L.L.C. v. Mauze & Bagby, P.L.L.C., 745 F.3d 742, 753 (5th Cir.
2014)) (“We have not specifically held that the TCPA applies in federal court; at most we have assumed without
deciding its applicability.”).
         8
           Other federal district courts in Texas, including the Northern District of Texas, have found that the TCPA
does not apply. See O’Gara v. Binkley, No. 3:18-CV-2603-B, 2019 WL 1864099, at *1 (N.D. Tex. Apr. 24, 2019)
(Boyle, J.); Sw. Airlines Co. v. Roundpipe, LLC, No. 3:18-CV-0033-G, 2019 WL 1315896, at *9 (N.D. Tex. Mar. 22,
2019) (Fish, J.); William Noble Rare Jewels, L.P. v. Sky Glob. L.L.C., No. 3:18-CV-01566-N, 2019 WL 935954, at *1
(N.D. Tex. Feb. 25, 2019) (Godbey, J.); Star Sys. Int’l Ltd. v. Neology, Inc., No. 4:18-cv-00574, 2019 WL 215933
(E.D. Tex. Jan. 16, 2019), appeal filed, No. 19-40053 (5th Cir. Jan. 25, 2019); Mathiew v. Subsea 7 (US) LLC, No.
4:17-cv-3140, 2018 WL 1515264 (S.D. Tex. Mar. 9, 2018); Rudkin v. Roger Beasley Imports, Inc., 2017 WL 6622561,
at *2–3 (W.D. Tex. Dec. 28, 2017), report and rec. accepted, 2018 WL 2122896 (W.D. Tex. Jan. 31, 2018).


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 6
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                      Page 13 of 30 PageID 3234


that the TCPA “protects citizens from retaliatory lawsuits that seek to intimidate or silence them

on matters of public concern”). “To achieve this, the TCPA provides a means for a defendant,

early in the lawsuit, to seek dismissal of certain claims in the lawsuit. If a legal action is based on,

relates to, or is in response to a party’s exercise of the right of free speech, right to petition, or right

of association, that party may file a motion to dismiss the legal action.” NCDR, LLC v. Mauze &

Bagby, PLLC, 745 F.3d 742, 746 (5th Cir. 2014) (citations omitted). One court in the Southern

District of Texas has observed that the TCPA is effectively substantive because its procedural

features (most notably its expedited disposition provision) “are designed to prevent substantive

consequences—the impairment of First Amendment rights and the time and expense of defending

against litigation that has no demonstrable merit under state law . . . .” Williams v. Cordillera

Commc’ns, Inc., No. 2:13-CV-124, 2014 WL 2611746, at *1 (S.D. Tex. June 11, 2014); see Allen

v. Heath, No. 6:16-CV-51-MHS-JDL, 2016 WL 7971294, at *3 (E.D. Tex. May 6, 2016), report

and recommendation adopted, No. 6:16-CV-51, 2016 WL 3033561 (E.D. Tex. May 27, 2016)

(finding that the TCPA is substantive).

        In addition to providing an opportunity for early dismissal of non-meritorious, retaliatory

lawsuits, the TCPA provides for the award of court costs, reasonable attorneys’ fees, and expenses

to a successful movant, as well as sanctions “as the court determines sufficient to deter the party

who brought the legal action from bringing similar actions described in this chapter.” TEX. CIV.

PRAC. & REM. CODE § 27.009(a). The allocation of the burden of proof and the right to affirmative

relief are substantive in nature and controlled by state law. See Raleigh v. Ill. Dept. of Revenue,

530 U.S. 15, 21 (2000); Mathis v. Exxon Corp., 302 F.3d 448, 461-62 (5th Cir. 2002).




THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 7
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                 Page 14 of 30 PageID 3235


       Because the TCPA protects substantive First Amendment rights of free speech, petition,

association, and advocacy with mechanisms that aid in safeguarding those values, the TCPA

should be applied in federal court under Erie.

       2.      The TCPA does not conflict with Federal Rules of Civil Procedure 12(b)(6)
               and 56.

       Under the second step in the three-step Erie analysis, the court evaluates whether the state

law conflicts with federal procedural rules. The Fifth Circuit has not yet decided the issue of

whether the TCPA conflicts with the Federal Rules. See Block v. Tenenhaus, 867 F.3d 585, 589

n.2 (5th Cir. 2017). In this context, neither Rule 12(b)(6) nor Rule 56 conflicts with the operation

of the TCPA in federal proceedings. Texas did not create a substitute to Federal Rules 12(b)(6)

and 56. Rather, Texas created supplemental and substantive rights and remedies to provide added

protection, beyond those provided in Rules 12(b)(6) and 56, to defendants who are sued under

Texas law because of constitutionally protected activities. Moreover, Rules 12(b)(6) and 56 should

be interpreted to avoid abridging the substantive rights protected by the TCPA, thereby avoiding

any violation of the Rules Enabling Act.

       The First Circuit embraced this reasoning in Godin v. Schencks, 629 F.3d 79 (1st Cir. 2010)

by holding that Maine’s anti-SLAPP statute, which includes a provision for expedited

consideration of an anti-SLAPP motion, applied in federal court because Rules 12(b)(6) and 56

did not address the same subject as the anti-SLAPP statute. Id. at 88. Rather, Maine’s anti-SLAPP

expedited motion-to-dismiss provision and the Federal Rules were “addressed to different (but

related) subject matters.” Id. The court reasoned that “Maine has not created a substitute to the

Federal Rules, but instead created a supplemental and substantive rule to provide added

protections, beyond those in Rules 12 and 56, to defendants who are named as parties because of

constitutional petitioning activities.” Id.; see also Henry v. Lake Charles Am. Press, LLC, 566 F.3d


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 8
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                 Page 15 of 30 PageID 3236


164, 168-69 (5th Cir. 2009) (holding Louisiana’s anti-SLAPP law, which contains an expedited

motion-to-dismiss provision, applicable in federal court); Cuba v. Pylant, 814 F.3d 701, 706 n.6

(5th Cir. 2016) (“The [Henry] court reasoned that even though the Louisiana anti-SLAPP statute

was built around a procedural device—a special motion to dismiss—it nonetheless applied in

federal court under the Erie doctrine because it was functionally substantive.”).

        Similar to Maine’s anti-SLAPP statute, the TCPA does not displace or conflict with

Federal Rules 12(b) and 56. The TCPA provides a “special” burden-shifting framework for

dismissing claims based on or relating to the exercise of a right that the TCPA protects. It is

confined to a limited category of cases targeting First Amendment activity. See Godin, 629 F.3d

at 88. Significantly, the TCPA does not contain a mechanism for testing the sufficiency of the

complaint’s allegations as provided for Rule 12(b)(6), nor does it contemplate granting judgment

as a matter of law in the absence of a genuine dispute of material facts, as provided for by Rule

56. Rather, the TCPA offers additional substantive protections beyond the procedures set forth by

Rules 12(b) and 56, which can be reconciled with Rules 12(b) and 56. Accordingly, the TCPA

should control as the substantive law in federal court, as there exists no conflict between the TCPA

and federal procedure.

       3.      The TCPA furthers the “twin aims” of Erie.

       The final step in the three-step Erie analysis considers whether application of the state law

in federal court serves to further Erie’s “twin aims” of discouraging forum shopping and avoiding

inequitable administration of the laws. Hall v. GE Plastic Pac. PTE Ltd., 327 F.3d 391, 395 (5th

Cir. 2003) (quoting Cates v. Sears, Roebuck & Co., 928 F.2d 679 (5th Cir. 1991)). Here, the twin

interests promoted by Erie favor application of the TCPA in federal court. If the Court were to

refuse to give effect to the TCPA, it would encourage filers to avoid initiating state court actions



THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 9
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                   Page 16 of 30 PageID 3237


and instead opt to file SLAPP suits in only certain federal forums in an effort to evade the TCPA’s

protections, which undermines the stated purpose of the TCPA.

       Because the TCPA is substantive, does not conflict with federal procedural rules, and

discourages forum shopping and inequity, the Court should apply the TCPA and dismiss the Third-

Party Plaintiffs’ claims on this additional basis.

       4.      Alternatively, the Court should stay this case until the Fifth Circuit rules on
               the applicability of the TCPA.

       Presently on appeal before the Fifth Circuit is Klocke v. UT Arlington, No. 17-11320 (5th

Cir.), a Northern District of Texas case that is projected to resolve the issue of whether the TCPA

applies in federal court under Erie and its progeny. Oral argument on this matter was held on

September 5, 2018, and a decision has yet to be issued. Because the Fifth Circuit’s decision in

Klocke will likely inform the Court’s assessment of the Third-Party Claims brought in this action,

McCowan requests, in the alternative, that if the Court is inclined to deny the TCPA motion to

dismiss, that the Court instead stay its disposition of the TCPA motion to dismiss pending the Fifth

Circuit’s decision in Klocke.

       Generally, a stay is appropriate “when the district court anticipates that the Fifth Circuit

will issue a ruling in an unrelated case that addresses unresolved issues in the stayed case.” Coker

v. Select Energy Servs., LLC, 161 F. Supp. 3d 492, 495 (S.D. Tex. 2015) (citing Lincoln Gen. Ins.

Co. v. Autobuses Tierra Caliente, Inc., CIV. A. 3:04CV1535–L, 2006 WL 2474096, at *1 (N.D.

Tex. Aug. 28, 2006) (staying case where similar issues were on appeal before the Fifth Circuit)).

       Here, the issuance of a brief stay of this matter would promote judicial economy, as the

Fifth Circuit’s decision will likely simplify or resolve threshold questions of law that will

significantly impact the course of this litigation. Furthermore, a limited stay of this matter will not

prejudice the Third-Party Plaintiffs given the Third-Party Claims have only been pending since


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 10
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                 Page 17 of 30 PageID 3238


April 2019 and no Third-Party Defendant other than McCowan has been served. Finally, a stay of

this matter would work to prevent any hardship that McCowan might suffer by having to continue

to defend the Third-Party Claims that are subject to early dismissal.

B.     The Third-Party Claims should be dismissed under the TCPA.

       Because the Third-Party Claims are based on, related to, and in response to McCowan’s

exercise of his rights of free speech and right to petition, McCowan is entitled to invoke the

substantive protections of the TCPA and seek dismissal of the Third-Party Claims unless the Third-

Party Plaintiffs meet their burden to present “clear and specific” evidence of a prima facie claim

for tortious interference. See TEX. CIV. PRAC. & REM. CODE § 27.005(c). Additionally, McCowan

is entitled to dismissal of the Third-Party Claims because he can conclusively establish valid

defenses to the claims. Id. at § 27.005(d).

           The TCPA applies to the Third-Party Claims because they are based on
           McCowan’s exercise of his right of free speech and right to petition.

       “Exercise of the right of free speech’ means a communication made in connection with a

matter of public concern.” TEX. CIV. PRAC. & REM. CODE § 27.001(3). Texas courts recognize

that the statute “casts a wide net,” and “[a]lmost any imaginable form of communication, in any

medium, is covered.” Adams v. Starside Custom Builders, LLC, 547 S.W.3d 890, 894 (Tex. 2018),

reh’g denied (Jun. 22, 2018). A “matter of public concern” is defined as including “an issue related

to . . . environmental, economic, or community well-being,” and “a good, product, or service in

the marketplace.” TEX. CIV. PRAC. & REM. CODE § 27.001(7)(B), (E).

       The Third-Party Claims are based on McCowan’s alleged interference with the

Termination Agreements by inducing VBF to: (1) file the instant suit against Ted Rea and Hall,

including for fraud and breach of fiduciary duty in relation to VBF’s business (Dkt. 66 ¶¶ 58, 60,

67); (2) refuse to pay severance payments to Wulf, in violation of his Termination Agreement (Id.


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 11
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                            Page 18 of 30 PageID 3239


¶ 77); and (3) terminate and refuse to pay James Rea based on an allegedly false claim of Egregious

Cause for his actions in relation to VBF’s business (which is also the subject of the lawsuit claims

against James Rea for fraud and breach of fiduciary duty) (Id. ¶ 87). VBF allegedly terminated,

refused to pay, and ultimately filed suit against the Third-Party Plaintiffs when it learned that the

Third-Party Plaintiffs had defrauded VBF. (Id. ¶ 46 (“VBF informed Wulf that it would not pay

him the remaining amounts due under his Separation Agreement . . . because it had conducted an

internal investigation and concluded that [Wulf] had defrauded the company”); ¶ 47 (“VBF

terminated James Rea from his employment at VBF, claiming Egregious Cause”). 9 Thus, any

alleged inducement by McCowan would be based on, related to, or in response to McCowan’s

exercise of his rights to (1) free speech in providing his opinions and advising the company in his

role as President of VBF; and (2) petition in authorizing filings with the courts, both in connection

with a matter of public concern, i.e., economic and community well-being and also a good,

product, or service in the marketplace. See TEX. CIV. PRAC. & REM. CODE § 27.001(7)(B); see,

e.g, Lona Hills Ranch, LLC v. Creative Oil & Gas Operating, LLC, 549 S.W.3d 839, 848 (Tex.

App.—Austin 2018, pet. filed), reh’g denied (July 2, 2018) (holding that the exercise of the right

to petition under the TCPA includes a party’s right to “initiate a lawsuit”); Adams v. Starside

Custom Builders, LLC, 547 S.W.3d 890, 894 (Tex. 2018) (holding that blog and email

communications related to homeowners’ association (HOA) and real estate developer’s

misconduct in not following city ordinances raised issues related to the HOA’s products or services

in the marketplace as well to the community and environmental well-being of the subdivision).




        9
          “Egregious Cause” is defined under James Rea’s Employment Agreement to include the employee’s
commission of any “willful act or willful omission involving dishonesty or fraud with respect to the Company” and
“damage to or misappropriation or conversion of any funds or assets of the Company.” (Dkt. 66 at Ex. A, § 5(c)(ii)).


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 12
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                  Page 19 of 30 PageID 3240


Therefore, the TCPA applies, and the Third-Party Claims are subject to dismissal under the TCPA.

Id. § 27.005(b).

           The Third-Party Plaintiffs cannot establish, by clear and specific evidence, a
           prima facie case on each essential element of their tortious-interference claims.

       The Third-Party Claims must be dismissed unless the Third-Party Plaintiffs establish “by

clear and specific evidence a prima facie case for each essential element of the claims in question.”

TEX. CIV. PRAC. & REM. CODE § 27.005(c). To state a claim for tortious interference with an

existing contract under Texas law, the Third-Party Plaintiffs must allege that there was (1) an

existing contract subject to interference and (2) a willful and intentional act of interference with

the contract (3) that proximately caused the plaintiff’s injury and (4) caused actual damages or

loss.” Jacked Up, L.L.C. v. Sara Lee Corp., 854 F.3d 797, 813 (5th Cir. 2017) (citing Prudential

Ins. Co. of Am. v. Fin. Review Servs., Inc., 29 S.W.3d 74, 77 (Tex. 2000)); Community Health Sys.

Prof’l Servs. v. Hansen, 525 S.W.3d 671, 689 (Tex. 2017). The Third-Party Plaintiffs fail to meet

their burden under the TCPA because their allegations are insufficient to state a prima facie case,

including for the reasons set forth below, and further, the Third-Party Plaintiffs have no clear and

specific evidence to support claims they cannot adequately plead.

               a.      As an officer of VBF, McCowan cannot tortiously interfere with the
                       Termination Agreements to which VBF was a party.

       The Third-Party Plaintiffs cannot allege or prove, by clear and specific evidence, that

McCowan was legally capable of tortious interference. See Holloway v. Skinner, 898 S.W.2d 793,

795–96 (Tex. 1995). To be legally capable of tortious interference, McCowan must be a “stranger

to the contract” with which he allegedly interfered. Id. at 794-95. Because corporations can act

only through human agents, the general rule is that “the actions of a corporate agent on behalf of

the corporation are deemed the corporation’s acts.” Id. at 795 (citations omitted). Thus, a

corporation’s agent is not a stranger to the contract and cannot tortiously interfere with the

THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 13
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                   Page 20 of 30 PageID 3241


corporation’s contract. Hansen, 525 S.W.3d at 690 (citing Holloway, 898 S.W.2d at 795-96)); see

also also Benningfield v. City of Houston, 157 F.3d 369, 379 (5th Cir. 1998) (“Generally, as agents

of the Defendant, the Defendants cannot be liable for interference with the city’s contracts.”)

(citation omitted); Celanese Corp. v. OneBeacon Am. Ins. Co., 3:15-CV-03822-N, 2016 WL

6496354, at *4 (N.D. Tex. May 20, 2016) (“Under Texas law, the parties to an ongoing business

relationship cannot interfere with their own relationship. In fact, ‘a person must be a stranger to a

contract to tortiously interfere with it.’ With very few exceptions, only a third party who is an

outsider to the business relationship can be liable for tortious interference. Because a corporation's

agents share its legal identity, corporate agents . . . generally cannot be held liable for tortious

interference with their principal's business relations.”) (internal citations omitted); Cent. Sav. &

Loan Ass’n v. Stemmons Nw. Bank, N.A., 848 S.W.2d 232, 242 (Tex. App.—Dallas 1992, no writ)

(“Where a . . . principal agent relationship exists, there can be no tortious interference with a

contract as a matter of law.”) (citation omitted).

       Thus, to prove that a corporate agent interfered with the corporation’s contract, the claimant

must show that the agent “‘acted in a fashion so contrary to the corporation’s best interests that his

actions could only have been motivated by personal interests,’ and thus could not have been acting

within the scope of his agency at the time of the interference.” Hansen, 525 S.W.3d at 691 (quoting

Holloway 898 S.W.2d at 795-97)); see also Benningfield, 157 F.3d 369 at 379 (same); ACS

Investors, Inc. v. McLaughlin, 943 S.W.2d 426, 432 (Tex. 1997) (corporate officer or director

cannot be held liable for interfering with corporation’s contractual obligations as long as she is

acting in good faith on corporation’s behalf). As explained by the Fifth Circuit, “[t]he Texas

Supreme Court has provided guidance on determining when a corporation’s agent is acting against

the corporation’s interests: If a corporation does not complain about its agents’ actions, then the



THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 14
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                   Page 21 of 30 PageID 3242


agent cannot be held to have acted contrary to the corporation’s interests.” Mumfrey v. CVS

Pharmacy, Inc., 719 F.3d 392, 403 (5th Cir. 2013) (citing Powell Indus. v. Allen, 985 S.W.2d 455,

457 (Tex. 1998)); see also Hansen, 525 S.W.3d at 695 (“Additionally, because a principal is a

superior judge of its own best interests, we consider the principal’s evaluation of the agent’s actions

when determining whether the corporate agent acted against the principal’s interests. If the

principal ‘does not complain about its agent’s actions, then the agent cannot be held to have acted

contrary to the corporation’s interests.’”) (citations omitted).

       Here, it is undisputed and the allegations and evidence establish that VBF was a party to

each of the Termination Agreements and that McCowan is and was VBF’s corporate agent at all

relevant times, and is, therefore, not a stranger to VBF’s contracts with the Third-Party Plaintiffs.

(See Dkt. 66 at ¶ 7 (pleading that McCowan “has served as the chief executive officer of VBF

since November 6, 2017”); id. at 16 (“McCowan is the current CEO of VBF.”); id. at Ex. B

(McCowan signing Wulf’s Separation Agreement on behalf of VBF)); id. at Exs. A-D (showing

VBF as a party to each contract)). Because the Third-Party Plaintiffs seek to hold McCowan (the

corporate agent) liable for tortiously interfering with VBF’s (the corporation) contracts, the Third-

Party Plaintiffs must prove, by clear and specific evidence, that McCowan acted so contrary to

VBF’s interests that his actions could only have been motivated by personal interest. Hansen, 525

S.W.3d at 694. The Third-Party Plaintiffs have not met this burden. Indeed, the Third-Party

Plaintiffs offer no allegations or evidence that McCowan acted in any way other than in good faith

on VBF’s behalf in relation to each of the Termination Agreements addressed in Counts 1-4.

Furthermore, the Third-Party Plaintiffs do not allege or provide any evidence that McCowan ever

acted willfully and intentionally to serve his own personal interests over VBF’s interests with

respect to the Termination Agreements. And, even if the Third-Party Claims are construed to



THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 15
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                Page 22 of 30 PageID 3243


allege that McCowan sought to benefit himself and VBF, such “mixed motives” are “insufficient

to establish liability.” Powell Indus., 985 S.W.2d at 457; see also Mumfrey v. CVS Pharmacy, Inc.,

719 F.3d 392, 403 (5th Cir. 2013) (“Even an agent’s mixed motives—benefitting himself and the

corporation—are insufficient.”). Finally, the Third-Party Plaintiffs fail to allege or provide any

evidence that VBF objected to any of McCowan’s actions as an agent of VBF.

                b.    VBF was exercising its rights under the Termination Agreements.

       The Third-Party Plaintiffs cannot allege or prove, by clear and specific evidence, that

McCowan’s conduct amounted to a knowing inducement to VBF to breach its contract with each

Third-Party Plaintiff. See John Paul Mitchell Sys. v. Randalls Food Markets, Inc., 17 S.W.3d 721,

730-31 (Tex. App.—Austin 2000, pet. denied). Inducing a third party to do what it has a legal

right to do does not constitute tortious interference. ACS Investors, 943 S.W.2d at 430. Here,

because the allegations themselves show that VBF was acting well within its rights under the

Termination Agreements with Hall, Ted Rea, and James Rea, there is no claim for tortious

interference.

       The only inducement alleged by the Third-Party Plaintiffs related to the Termination

Agreements for Ted Rea and Hall (Counts 1 and 2) was for VBF to file this lawsuit against Ted

Rea and Hall. Even assuming these Termination Agreements are enforceable (they are not, as

explained in VBF’s Proposed Second Amended Complaint (Dkt. 102-1 at ¶¶ 309-352) and VBF’s

Response and Brief in Support to Defendant Keith Driver’s 12(b)(6) Motion to Dismiss (Dkt. 103

at 19-23)), neither agreement prohibits VBF from bringing a lawsuit. There is no covenant not to

sue in the Termination Agreements. (See Dkt. 66, Exs. C, D). The sole basis for this claim by Ted

Rea and Hall is the purported release provision in the Termination Agreements. But Texas law

distinguishes between releases (which are affirmative defenses that do not automatically bar later

claims) and covenants not to sue (which indeed bar later claims). See Cypress Engine Accessories,

THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 16
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                                Page 23 of 30 PageID 3244


LLC v. HDMS Ltd. Co., 283 F. Supp. 3d 580, 587-88 (S.D. Tex. 2017) (noting “[u]nder Texas law,

the court cannot imply a covenant not to sue on released claims from a settlement releasing those

claims,” as Texas Supreme Court precedent provides that “a release of a claim does not equate to

a covenant not to sue on that claim. The issue is whether the specific release language ‘includes a

contractual obligation not to sue.’”) (citation omitted); Nat’l Prop. Holdings, L.P. v. Westergren,

453 S.W.3d 419, 428–29 (Tex. 2015) (“Although the release provides an affirmative defense to

future suits, we cannot construe it as including a covenant not to sue where, in fact, the plain

language does not bar future suits.”). 10

         The only inducement alleged by the Third-Party Plaintiffs related to the Employment

Agreement for James Rea (Count 4) was for VBF to terminate James Rea for “Egregious Cause.”

But James Rea’s Employment Agreement provided VBF with the legal right to terminate his

employment for “Egregious Cause,” which it exercised. (See Dkt. 66 at Ex. A, §§ 5(c)(i)-(iii)

(“Employee’s employment hereunder may be terminated by the Company for Cause,” which

means “either Egregious Cause or Non-Egregious Cause.”)).

                  c.        All claims against VBF have been discharged, released, and enjoined.

         The Third-Party Plaintiffs cannot allege or prove, by clear and specific evidence, that

McCowan induced or caused a breached of any agreement by VBF. Each of the Third-Party Claims

is wholly derived from and dependent upon the Third-Party Plaintiffs’ allegations that VBF

breached their agreements. Any underlying breach claim against VBF, however, has been

discharged, released, and enjoined as a matter of law by the VBF Bankruptcy Plan. See, e.g.,



         10
            Moreover, any interpretation that the release could constitute a covenant not to sue contravenes other
provisions in the agreements that unambiguously demonstrate that the parties contemplated future litigation based on
the agreements. (E.g., Dkt. 66 at Ex. C, § 7(i) (“In the event it becomes necessary to bring suit to enforce any provision
of this Agreement…”); § 7(l) (“Each Party agrees to commence any action, suit or proceeding relating to this
Agreement in the District Court.”)).


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 17
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                   Page 24 of 30 PageID 3245


Delgado v. Methodist Hosp., 936 S.W.2d 479, 485–86 (Tex. App.—Houston [14th Dist.] 1996, no

pet.) (holding patient’s tortious-interference claim against doctors failed where patient waived any

claim for breach of contract against hospital); Hamlett v. Holcomb, 69 S.W.3d 816, 820 (Tex.

App.—Corpus Christi 2002, no pet.) (affirming dismissal of plaintiff’s tortious-interference claim

against one defendant because plaintiff’s tortious-interference claim was premised on the other

defendant’s breach, and the other defendant did not breach the contract with plaintiff) (citing Lopez

v. Munoz, Hockema & Reed, L.L.P., 22 S.W.3d 857, 862 (Tex. 2000) (failure of a claim for breach

of contract necessarily defeated claim for breach of fiduciary duty that depended on breach of

contract)); Ex. 1 (Judgment) at ¶ 6; Ex. 2 (Order confirming VBF Reorganization Plan) at Art.

9.13 at 26 (discharges and releases for VBF), Art. 9.17 at 29 (injunction on claims against VBF).

               d.      There are no allegations or evidence that McCowan actively
                       persuaded VBF to breach the Termination Agreements.

       The Third-Party Plaintiffs cannot allege or prove, by clear and specific evidence, that

McCowan’s interference proximately caused their injury. Immobiliere Jeuness Establissement v.

Amegy Bank, 525 S.W.3d 875, 880 (Tex. App.—Houston [14th Dist.] 2017, no pet.). The

proximate-cause element requires allegations that McCowan took an active role in persuading

VBF to breach the Termination Agreements. See Hambric Sports Mgmt., LLC v. Team AK, Inc.,

3:09-CV-1662-L, 2010 WL 2605243, at *9 (N.D. Tex. June 29, 2010) (Lindsay, J.) (“To properly

show proximate cause, a plaintiff must allege that ‘the defendant took an active part in persuading

a party to a contract to breach it.’”) (quoting Amigo Broad., LP v. Spanish Broad. Sys., Inc., 521

F.3d 472, 493 (5th Cir. 2008)). “It is necessary that there be some act of interference or of

persuading a party to breach, e.g., by offering better terms or other incentives, for tort liability to

arise.” Fitness Evolution, L.P. v. Headhunter Fitness, L.L.C., No. 05-13-00506-CV, 2015 WL




THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 18
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                   Page 25 of 30 PageID 3246


6750047, at *24 (Tex. App.—Dallas Nov. 4, 2015, no pet.); see also Davis v. Hyd-Pro, Inc., 839

S.W.2d 137, 139-40 (Tex. App.—Eastland 1992, writ denied)).

       Here, the Third-Party Plaintiffs provide no allegations (let alone clear and specific

evidence) that McCowan took an active role in persuading VBF to (1) file suit against Ted Rea or

Hall; (2) terminate James Rea for cause; or (3) refuse to pay Wulf or James Rea amounts allegedly

due to them. At most, the Third-Party Claims allege that some of McCowan’s actions on behalf

of VBF were allegedly “consistent with” the “directions” of other third-party defendants. (E.g.,

Dkt. 66 ¶¶ 35, 42, 48). But this is not enough for tort liability to arise, especially because there is

not a single allegation or shred of evidence that McCowan actively persuaded or directed VBF to

act.

               e.      Counts 1 and 2 fail as a matter of law because attorneys’ fees cannot
                       be awarded as actual damages for tortious interference.

       The Third-Party Plaintiffs cannot allege or prove, by clear and specific evidence, any actual

damage or loss for Counts 1 and 2. The only alleged damage with respect to Counts 1 and 2 is the

“amount of expense” that Ted Rea and Hall have “incurred in defending against claims brought

against [them] by VBF in violation of the release.” (Dkt. 66 at ¶¶ 61, 70). Attorneys’ fees,

however, generally “are in the nature of costs, not damages” and cannot be awarded as damages

for alleged tortious interference. See Alma Grp., L.L.C. v. Palmer, 143 S.W.3d 840, 846 (Tex.

App.—Corpus Christi 2004, pet. denied) (reversing trial court award of attorneys’ fees as damages

for tortious interference); Williams v. Compressor Eng’g Corp., 704 S.W.2d 469, 474 (Tex.

App.—Houston [14th Dist.] 1986, writ ref’d n.r.e.) (same). An exception to this general rule is

that a plaintiff can recover attorneys’ fees as damages “where a plaintiff has been involved in

litigation with a third party as a result of the tortious act of another, plaintiff may recover in a

separate suit for his reasonable and necessary expenses of the prior litigation.” Turner v. Turner,


THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 19
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                   Page 26 of 30 PageID 3247


385 S.W.2d 230, 234 (Tex. 1964). Here, the Third-Party Plaintiffs do not allege or present

evidence that the attorneys’ fees they seek to recover were incurred in the prosecution or defense

of a prior action, and the fees to which they refer are those incurred in this litigation. They cannot

recover attorneys’ fees through a cross-claim in the same suit. Brown & Brown of Texas, Inc. v.

Omni Metals, Inc., 317 S.W.3d 361, 399 (Tex. App.—Houston [1st Dist.] 2010, pet. denied)

(“Certain prerequisites must, however, be met. These include: (1) the plaintiff must have incurred

attorney’s fees in the prosecution or defense of a prior action, and (2) the litigation must have

involved a third party and must not have been brought against the defendant in the same action in

which the fees are sought.”).

       Therefore, because the Third-Party Plaintiffs cannot establish, by allegations or clear and

specific evidence, a prima facie case on each essential element of their tortious-interference claims,

the Third-Party Claims should be dismissed pursuant to the TCPA.

           McCowan can conclusively establish valid defenses to the Third-Party Claims.

       McCowan can conclusively establish the defenses of privilege and justification to the

Third-Party Claims for tortious interference. A defendant has a privilege to interfere when he (1)

is exercising his own rights in good faith or (2) has a right that is equal to or greater than that of

the contracting party in the subject matter of the contract. Jacked Up, L.L.C. v. Sara Lee Corp.,

854 F.3d 797, 813–14 (5th Cir. 2017) (citing Baty v. ProTech Ins. Agency, 63 S.W.3d 841, 857

(Tex. App.—Houston [14th Dist.] 2001, pet. denied)). “Under Texas law, a defendant is justified

in interfering with a plaintiff’s contract if [he] exercises (1) [his] own legal rights, or (2) a good-

faith claim to a colorable legal right, even if that claim ultimately proves to be mistaken. Sullivan

v. State Farm Lloyds, 3:05-CV-2000-L, 2007 WL 1626077, at *7 (N.D. Tex. June 6, 2007)

(Lindsay, J.) (citing Prudential Ins. Co. v. Financial Review Servs., Inc., 29 S.W.3d 74, 80 (Tex.



THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 20
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                     Page 27 of 30 PageID 3248


2000); Friendswood Dev. Co. v. McDade & Co., 925 S.W.2d 280, 282 (Tex. 1996); Victoria Bank

& Trust Co. v. Brady, 811 S.W.2d 931, 939 (Tex. 1991).

        Both privilege and justification are applicable here, where all of McCowan’s actions were

taken in his capacity as a corporate agent of VBF, as set forth in Third-Party Plaintiffs’ own

allegations, and providing VBF with truthful information and honest advice also is privileged. See

Section B(2)(a); Community Health, 525 S.W.3d at 697 (noting that the relationship between an

agent and principal “give[s] rise to a legal right to interfere with another’s contract, as required to

support a justification defense to a tortious interference with contract claim”); Eloise Bauer &

Assocs., Inc. v. Elec. Realty Assocs., Inc., 621 S.W.2d 200, 203 (Tex. Civ. App.—Texarkana 1981,

writ ref’d n.r.e.) (“[A]n employee, acting in good faith to further the interests of his employer, is

privileged to induce his employer to breach a contract with a third person, so long as he does not

use wrongful means.”) (citing RESTATEMENT (SECOND)            OF   TORTS §§ 766, 767, 770 (1979)); .

Further, the assertion of a lawsuit to determine or enforce legal rights is a valid justification. See,

e.g., Desch v. Wheatley, SA-08-CA-0922-FB, 2010 WL 11506404, at *7 (W.D. Tex. Jan. 19,

2010), report and recommendation adopted, SA-08-CA-922-FB, 2010 WL 11506405 (W.D. Tex.

Mar. 18, 2010), aff'd, 421 Fed. App’x. 394 (5th Cir. 2011) (“[D]efendants contend that they had a

legal right to file suit . . . seeking a declaration that the ‘corrected deed’ to Unit #301 was fraudulent

and void . . . .”); Abraham v. Ryland Mortg. Co., 995 S.W.2d 80, 895 (Tex. App.—El Paso 1999,

no pet.) (“Ryland established that the note secured by the deed of trust was in default, and that the

deed of trust gave Ryland the right to foreclose on 1905 North Kansas in the event of default. . . .

Accordingly, Ryland conclusively established that it was acting within its rights under the deed of

trust . . . when it foreclosed on 1905 North Kansas.”).




THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 21
 Case 3:19-cv-00764-X Document 114 Filed 06/01/19                Page 28 of 30 PageID 3249


       Both of these defenses are supported by the VBF Bankruptcy and the VBF Reorganization

Plan and are either supported by or not contradicted by the allegations in the Third-Party Claims.

Therefore, McCowan can conclusively establish valid defenses to the Third-Party Claims, and the

Third-Party Claims should be dismissed pursuant to the TCPA.

C.     The Court should award McCowan his costs and attorneys’ fees.

       In addition to dismissing the Third-Party Claims in their entirety, the TCPA requires the

Court to award McCowan “(1) court costs, reasonable attorney’s fees, and other expenses incurred

in defending against the legal action as justice and equity may require; and (2) sanctions against

the party who brought the legal action as the court determines sufficient to deter the party who

brought the legal action from bringing similar actions described in this chapter.” TEX. CIV. PRAC.

& REM. CODE § 27.009(a). Therefore, upon the dismissal of any part of the Third-Party Claims

against McCowan pursuant to the TCPA, McCowan will submit an application for fees, costs,

expenses, and sanctions for consideration by the Court.

                                     V.         CONCLUSION

       For the reasons set forth above, Third-Party Defendant Norman McCowan respectfully

requests that the Court dismiss the Third-Party Claims (Counts 1-4) pursuant to the Texas Citizens

Participation Act, TEX. CIV. PRAC. & REM. CODE §§ 27.001, et seq. McCowan further requests

that the Court award him court costs, attorneys’ fees, expenses, and any additional sanctions that

the Texas Citizens Participation Action or justice and equity may require. McCowan also requests

all other relief to which he may be entitled.




THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 22
Case 3:19-cv-00764-X Document 114 Filed 06/01/19             Page 29 of 30 PageID 3250


Dated: June 1, 2019                      Respectfully submitted,

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THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 23
Case 3:19-cv-00764-X Document 114 Filed 06/01/19               Page 30 of 30 PageID 3251


                               CERTIFICATE OF SERVICE

       This document was filed electronically on June 1, 2019, and, in compliance with Local
Civil Rule L.R. 5.1(d), a copy of this document has been served on all counsel of record.

                                                   /s/ Jasmine Wynton
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THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
THE TEXAS CITIZENS PARTICIPATION ACT AND BRIEF IN SUPPORT – PAGE 24
